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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                         www.flsb.uscourts.gov

In re:                                                          Case No. 20-20259-RAM
                                                                (Jointly Administered)
It’Sugar FL I LLC, et al.,
                                                                Chapter 11
      Debtors.
_______________________________/

                   NOTICE OF FILING NOTICE OF DEADLINES FOR FILING
                           SECTION 503(B)(9) CLAIM REQUESTS

           It’Sugar FL I LLC, It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC LLC

(collectively, “It’Sugar” or the “Debtors”), by and through undersigned counsel, hereby file the

Notice of Deadlines for Filing Section 503(b)(9) Claim Requests in accordance with the Order

Granting Debtors’ Motion Pursuant to Section 503(B)(9) of the Bankruptcy Code to Establish

Procedures for Submitting and Resolving Claims Related to Goods Received Within Twenty

Days Prior to the Petition Date [ECF No. 94] (the “Order”), which was served on October 15,

2020, via regular U.S. Mail upon the parties listed on the Manual Notice List; the Master Service

List, pursuant to Local Rule 2002-1 (H), Designation of Master Service List in Chapter 11

Cases, attached as Exhibit 1 and the Vendor Notice Parties1 on the list attached as Exhibit 2, in

accordance with the Order Granting Debtors’ Motion Pursuant to Section 503(B)(9) of the

Bankruptcy Code to Establish Procedures for Submitting and Resolving Claims Related to

Goods Received Within Twenty Days Prior to the Petition Date [ECF No. 94].

                      [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




1
    Capitalized terms shall have the same meaning ascribed to them in the Order.
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Dated: October 16, 2020.

                                         s/ Meaghan E. Murphy
                                         Meaghan E. Murphy, Esquire
                                         Florida Bar No. 102770
                                         mmurphy@melandbudwick.com
                                         MELAND BUDWICK, P.A.
                                         3200 Southeast Financial Center
                                         200 South Biscayne Boulevard
                                         Miami, Florida 33131
                                         Telephone: (305) 358-6363
                                         Telecopy: (305) 358-1221

                                         Attorneys for Debtors




                                    2
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                               Case No. 20-20259-RAM
                                                     (Jointly Administered)
It’Sugar FL I LLC, et al.,
                                                     Chapter 11
      Debtors.
_______________________________/

                             NOTICE OF DEADLINES FOR FILING
                             SECTION 503(b)(9) CLAIM REQUESTS

        PLEASE TAKE NOTICE that on September 22, 2020 (the “Petition Date”), the above-
captioned debtors and debtors in possession (collectively, the “Debtors”) filed voluntary petitions
pursuant to chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the Southern District of Florida (the “Court”).

        PLEASE TAKE FURTHER NOTICE that, on September 28, 2020, the Debtors filed
the Motion Pursuant to Section 503(b)(9) of the Bankruptcy Code to Establish Procedures for
Submitting and Resolving Claims Related to Goods Received Within Twenty Days Prior to the
Petition Date [ECF No. 55] (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that, on October 14, 2020, the Court, having
jurisdiction over the Debtors’ chapter 11 cases, entered an order [ECF No. 94] (the “Claim
Deadline Order”): establishing December 1, 2020 as the deadline for each person or entity to file
a request for payment for an administrative claim pursuant to Section 503(b)(9) of the Bankruptcy
Code (a “Section 503(b)(9) Claim Request”) against any of the Debtors that arose prior to the
Petition Date.

     A CLAIMANT SHOULD CONSULT AN ATTORNEY IF THE CLAIMANT HAS
ANY QUESTIONS, INCLUDING WHETHER TO FILE A SECTION 503(b)(9) CLAIM
REQUEST.

      If you have any questions with respect to this notice (the “Claim Deadlines Notice”),
you may contact the Debtors’ attorney, James C. Moon, Esquire by:

         Telephone: (305) 358-6363
         Email inquiry: jmoon@melandbudwick.com
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1.         WHO MUST FILE A SECTION 503(b)(9) CLAIM REQUEST AND HOW TO
           FILE A SECTION 503(b)(9) CLAIM REQUEST

        All parties who seek to assert an administrative expense claim pursuant to section 503(b)(9)
of the Bankruptcy Code (each, a “Section 503(b)(9) Claim”) against a Debtor for goods provided
to such Debtor within 20 days prior to the Petition Date (each a “Section 503(b)(9) Claimant”)
must submit a Section 503(b)(9) Claim Request. Attached is a copy of a Section 503(b)(9) Claim
Request.

       Section 503(b)(9) Claim Requests must set forth with specificity: (i) the amount of the
Section 503(b)(9) Claim; and (ii) the value of the goods the Section 503(b)(9) Claimant contends
the Debtor received within twenty (20) days before the Petition Date. Further, the Section
503(b)(9) Claim request should include or attach documentation identifying the particular invoices
for which any such Section 503(b)(9) Claim is being asserted. Any Section 503(b)(9) Claim
Request must include a certification that the goods with respect to which the Section 503(b)(9)
Claim is being filed were sold in the ordinary course of business. Finally, Section 503(b)(9) Claim
Requests must: be signed1 by the claimant or, if the claimant is not an individual, by an authorized
agent of the claimant.

       For any Section 503(b)(9) Claim Request to be validly and properly filed, such Section
503(b)(9) Claim Request must be signed and filed on or before the Section 503(b)(9) Claim
Deadline, December 1, 2020, with the Clerk of the Bankruptcy Court.

       If you file a Section 503(b)(9) Claim Request and wish to receive a file-stamped receipt
copy by return mail, you must include with your Section 503(b)(9) Claim Request an additional
copy of your Section 503(b)(9) Claim Request and a self-addressed, postage-paid envelope.

     YOU SHOULD ATTACH TO YOUR COMPLETED SECTION 503(b)(9) CLAIM
REQUEST COPIES OF ANY WRITINGS UPON WHICH YOUR SECTION 503(b)(9)
CLAIM IS BASED.

2.         CONSEQUENCES OF FAILURE TO FILE A SECTION 503(b)(9) CLAIM
           REQUEST BY THE SECTION 503(b)(9) CLAIM DEADLINE

Any holder of a claim who received notice of the Section 503(b)(9) Claim Deadline (whether
such notice was actually or constructively received) and is required, but fails, to file a Section
503(b)(9) Claim Request in accordance with the Claim Deadline Order on or before the
Section 503(b)(9) Claim Deadline may, as applicable be barred from asserting such claim
against such Debtor (or filing a Proof of Claim or Section 503(b)(9) Claim Request with
respect thereto), and such Debtor and its property may upon confirmation of a chapter 11
plan be discharged from all such indebtedness or liability with respect to such claim.

The Section 503(b)(9) Claim Request may be filed in addition to a Proof of Claim as set forth
in the Notice of Chapter 11 Bankruptcy Case [ECF No. 9].
1
    Electronic signatures are permissible.
                                                      2
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3.     EFFECT OF SUBSEQUENT NOTICE

        If the Debtors determine after the mailing date of this Section 503(b)(9) Claim Deadline
Notice that an additional party or parties should appropriately receive the Section 503(b)(9) Claim
Deadline Notice, the date by which a 503(b)(9) claim must be filed by such party or parties shall
be the later of (i) the Section 503(b)(9) Claim Deadline or (ii) the first business day that is thirty
(30) days from the mailing date of an amended notice to such additional party or parties.

                                                        s/ James C. Moon
                                                       James C. Moon, Esquire
                                                       Florida Bar No. 938211
                                                       jmoon@melandbudwick.com
                                                       MELAND BUDWICK, P.A.
                                                       3200 Southeast Financial Center
                                                       200 South Biscayne Boulevard
                                                       Miami, Florida 33131
                                                       Telephone: (305) 358-6363
                                                       Telecopy: (305) 358-1221

                                                       Attorneys for Debtors




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                                   Section 503(b)(9) Claim Request Form
Address for Submission of 503(b)(9) Claim Request
                                                           It’Sugar FL I LLC, et al.
Clerk, US Bankruptcy Court                                 Chapter 11 Case No. 20-20259-RAM, etc.
301 North Miami Avenue, Room 150                           (Jointly Administered)
Miami, FL 33128
NOTE: Pursuant to an Order of the Bankruptcy Court in the above-referenced chapter 11 cases [ECF No.
94], a claim for administrative expense under 11 U.S.C. § 503(b)(9) (the “Section 503(b)(9) Claim Request”)
must be delivered on or before December 1, 2020 to the Clerk of the Bankruptcy Court at the above-referenced
address.
When Filing Section 503(b)(9) Claim Request Form: Claims may be mailed to the Clerk's office or filed electronically
by an attorney with electronic filing privileges with the Court.
Name and address of Creditor (and name and                 □ Check if you are aware that anyone else has filed a
address where notices should be sent if different          Section 503(b)(9) Claim Request relating to your claim.
from Creditor):                                            Attach copy of statement giving particulars.

                                                         □ Check if you have never received any notices from the
                                                         bankruptcy court in this case.


Telephone number:
ACCOUNT OR OTHER NUMBER BY WHICH                         Check here if this claim:
CREDITOR IDENTIFIES DEBTOR: _________                           □      Replaces
                                                                □      Amends
                                                         a previously filed claim, dated: __________

1. BASIS FOR CLAIM: Goods sold in the ordinary course of business and received by debtor within 20 days
prior to the commencement of the case.
2. DATE DEBT WAS INCURRED:
3. TOTAL AMOUNT OF SECTION 503(b)(9) CLAIM (IN US DOLLARS): $_______________
4. BRIEF DESCRIPTION OF CLAIM:
5. CREDITS AND SETOFFS: The amount of all payments on this claim have been credited and deducted for the
purpose of making this Section 503(b)(9) Claim Request. In filing this Section 503(b)(9) Claim Request, claimant
has deducted all amounts that claimant owes to the Debtor.
6. SUPPORTING DOCUMENTS: Attach copies of supporting documents, such as promissory notes, purchase
orders, invoices, shipping documents, bills of lading, packing slips, receiving dock acceptances, itemized
statements of running accounts, or contracts. DO NOT SEND ORIGINAL DOCUMENTS. If the documents are
not available, explain why. If the documents are voluminous, attach a summary and identify from whom the Debtor
may obtain a copy of the documents.
7. DATE-STAMPED COPY: To receive acknowledgement of the filing of a
paper copy of a Section 503(b)(9) Claim Request, enclose a stamped, self-
addressed envelope and a date-stamped copy of your Section 503(b)(9) Claim
Request form, excluding supporting documents, will be mailed to you.
8. ORDINARY COURSE CERTIFICATION: By signing this claim form, you
are certifying that the goods for which payment is sought hereby were sold to the
Debtor in the ordinary course of business as required by 11 U.S.C. § 503(b)(9).




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Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service for this
case (who therefore require manual noticing/service).

Ricki S. Friedman
1 Huckleberry Lane
Hewlett Harbor, NY 11557

Leslie C. Heilman
Ballard Spahr LLP
919 North Market Street, 11th Floor
Wilmington, DE 19801-3034

Robert LeHane
Kelly Drye & Warren LLP
101 Park Avenue, 29th Floor
New York, NY 10178

Ernie Zachary Park
13215 E Penn St #510
Whittier, CA 90602

Laurel D. Roglen
Ballard Spahr LLP
919 North Market Street, 11th Floor
Wilmington, DE 19801-3034

Troy Taylor
c/o Algon Group
10 Glen Lake Parkway #130
Atlanta, GA 30328

Sean T. Wilson
Kelley Drye & Warren LLP
101 Park Avenue, 27th Floor
New York, NY 10178
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U.S. Trustee: (Notice provided via NEF)            Notice of Appearances:
Office of The United States Trustee                (Notice provided via NEF
51 SW First Avenue, Room 1204                      Upon Registered Users)
Miami, FL 33130
                                                   Attorneys for Brookfield Properties Retail,
Debtors-in-Possession: (via U.S. Mail)             Inc.
It’Sugar FL I LLC                                  Kristen N. Pate, Esq.
19575 Biscayne Blvd                                Brookfield Properties Retail, Inc., as Agent
Ste 115                                            350 N. Orleans Street, Suite 300
Aventura, FL 33180                                 Chicago, IL 60654-1607

It’Sugar LLC, It’Sugar Atlantic                    Attorneys for Anne M. Gannon,
City LLC and It’Sugar FLGC LLC                     Constitutional Tax Collector
4960 Conference Way N, Ste 100                     Orfelia M. Mayor, Esq.
Boca Raton, FL 33431                               Palm Beach County Tax Collector’s Office
                                                   P.O. Box 3715
Debtor-in-Possession’s Attorney:                   West Palm Beach, Florida 33402-3715
(Notice provided via NEF)
Michael S. Budwick, Esquire                        Attorneys for Simon Property Group
Joshua W. Dobin, Esquire                           Ronald M. Tucker, Esq.
James C. Moon, Esquire                             225 West Washington Street
Meland Budwick, P.A.                               Indianapolis, Indiana 46204
3200 Southeast Financial Center
200 South Biscayne Boulevard                       Attorneys for 117 Duval, LLC
Miami, Florida 33131                               Daniel Y. Gielchinsky, Esq.
                                                   Daniel Y. Gielchinsky, P.A.
Secured Creditors: (via U.S. Mail)                 1132 Kane Concourse, Suite 204
SHL Holdings, Inc.                                 Bay Harbor Islands, Florida 33154
401 E Las Olas Blvd
Ste 800                                            Attorneys for Taubman Landlords
Fort Lauderdale, FL 33301                          Andrew S. Conway, Esq.
                                                   200 East Long Lake Road
United States and its agencies:                    Suite 300
(via U.S. Mail)                                    Bloomfield Hills, Michigan 48304
Internal Revenue Service
P.O. Box 7346                                      Attorneys for SHL Holdings, Inc.
Philadelphia, PA 19101-7346                        Eric J. Silver, Esq.
                                                   Stearns Weaver Miller
Internal Revenue Services                          Weissler Alhadeff & Sitterson, P.A.
Insolvency Unit                                    Museum Tower, Suite 2200
7850 S.W. 6th Court                                150 West Flagler Street
Mail Stop 5730                                     Miami, Florida 33130
Plantation, FL 33324




                                                                                         EXHIBIT 1
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                MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)


Attorneys for Broward County, Florida             Attorneys for Broadway Mercer Assoc.
Andrew J. Meyers, Esq.                            Daniel M. Eliades, Esq.
Broward County Attorney                           David S. Catuogno, Esq.
Governmental Center, Suite 423                    K&L GATES LLP
115 South Andrews Avenue                          One Newark Center, Tenth Floor
Fort Lauderdale, Florida 33301                    1085 Raymond Boulevard
                                                  Newark, New Jersey 07102
Attorneys for DRM Opco, LLC
and Vestar RW Tempe Marketplace, LLC              Attorneys for The Macerich Company and
David M. Blau, Esq.                               Federal Realty Investment Trust
c/o Clark Hill, PLC                               Joaquin J. Alemany, Esq.
151 S. Old Woodward Ave., Ste. 200                Florida Bar No. 662380
Birmingham, MI 48009                              Holland & Knight LLP
                                                  701 Brickell Avenue, Suite 3300
Attorneys for Westfield, LLC, Pyramid             Miami, Florida 33131
Management Group, LLC
Niclas A. Ferland, Esq.                           Robert Davis, Esq.
Ilan Markus, Esq.                                 Holland & Knight LLP
Barclay Damon LLP                                 200 S. Orange Avenue, Suite 2600
545 Long Wharf Drive, 9th Floor                   Orlando, Florida 32801
New Haven, CT 06511
                                                  Attorneys for The Macerich Company and
Attorneys for Westfield, LLC, Pyramid             Federal Realty Investment Trust
Management Group, LLC                             Leslie C. Heilman, Esquire
Kevin Newman, Esq.                                Laurel D. Roglen, Esquire
Barclay Damon LLP                                 BALLARD SPAHR LLP
80 State Street                                   919 N. Market Street, 11th Floor
Albany, NY 12207                                  Wilmington, Delaware 19801-3034

Attorneys for IMI Huntsville LLC                  Attorneys for The Macerich Company and
Eric S. Golden, Esq.                              Federal Realty Investment Trust
Burr & Forman LLP                                 Dustin P. Branch, Esquire
200 S. Orange Avenue, Suite 800                   BALLARD SPAHR LLP
Orlando, Florida 32801                            2029 Century Park East, Suite 1400
                                                  Los Angeles, CA 90067-2915
Attorneys for Erst 1542 Third Avenue, LLC
Brian S. Behar, Esquire                           Attorneys for The Macerich Company and
Behar, Gutt & Glazer, P.A.                        Federal Realty Investment Trust
Dcota Suite A -350                                David L. Pollack, Esquire
1855 Griffin Road                                 BALLARD SPAHR LLP
Fort Lauderdale, Fl 33004                         1735 Market Street, 51st Floor
                                                  Philadelphia, PA 19103-7599
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                 MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)


Attorneys for Domain Northside Retail              Attorneys for Liberty Center LLC
Property Owner LP                                  Gillian D. Williston, Esq.
Kevin S. Neiman, Esq.                              Troutman Pepper Hamilton Sanders LLP
Law Offices of Kevin S. Neiman, pc                 222 Central Park Avenue, Suite 2000
999 18th Street, Suite 1230 S                      Virginia Beach, VA 23462
Denver, CO 80202
                                                   Attorneys for Daytona Beach Property
Attorneys for Shopcore Properties, L.P.,           Holdings Retail, LLC
Tanger Properties Limited Partnership and          Ryan E. Davis, Esq.
Turnberry Associates                               Winderweedle, Haines, Ward
Robert L. LeHane, Esq.                             & Woodman, P.A.
Sean T. Wilson, Esq.                               329 Park Avenue North
Kelley Drye & Warren LLP                           Second Floor
101 Park Avenue                                    Winter Park, FL 32789
New York, New York 10178
                                                   Attorneys for Downtown Delray
Attorneys for Washington Prime Group, Inc.         Holdings, LLC
Ronald E. Gold, Esq.                               Robert C. Furr, Esq.
Erin P. Severini, Esq.                             Furr and Cohen, P.A.
Kendal Hardison, Esq.                              2255 Glades Road
Frost Brown Todd LLC                               Suite 301E
3300 Great American Tower                          Boca Raton, FL 33431
301 East Fourth Street
Cincinnati, OH 45202                               Attorneys for Victory Retail I, L.P.
                                                   Louis G. Spencer, Esq.
Attorneys for MV Rolling Oaks Retail, LLC          Alexander Ricks PLLC
Michael S. Provenzalem Esq.                        1420 E. 7th Street, Suite 100
Lowndes, Drosdick, Doster, Kantor and              Charlotte, NC 28204
Reed, P.A.
215 N. Eola Drive                                  Attorneys for Shopcore Properties, LP,
Orlando, Florida 32801                             Tanger Properties Limited Partnership
                                                   and Turnberry Associates
Attorneys for Hill Partners, Inc. as agent
                                                   Grace E. Robson, Esq.
For MCA Promenade Owner, LLC
                                                   Markowitz Ringel Trusty & Hartog, PA
Chad S. Paiva, Esq.
                                                   101 NE Third Ave., Suite 1210
Fender, Bolling, and Paiva, P.A.
                                                   Fort Lauderdale, FL 33301
6526 S. Kanner Highway, #376
Stuart, FL 34997
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                  MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)


Pro Hac Vice Counsel for Shopcore                 Internal Revenue Service
Properties, LP, Tanger Properties                 PO Box 7346
Limited Partnership and Turnberry                 Philadelphia, PA 19101-7346
Associates
Sean T. Wilson, Esq.                              1185 Gotham L.L.C.
Robert L. LeHane, Esq.                            c/o Malkin
Kelley Drye & Warren LLP                          Properties, L.L.C.
                                                  60 East 42nd Street
101 Park Avenue, 27th Floor
                                                  New York, NY 10165
New York, NY 10178
                                                  210 Muni, LLC
Attorneys for Victory Retail I, L.P.              430 West Broadway
Louis G. Spencer, Esq.                            Third Floor
Alexander Ricks PLLC                              New York, NY 10012
1420 E. 7th Street, Suite 100
Charlotte, NC 28204                               Anchorage Holdings, L.P.
                                                  c/o CBRE Global Investors
Attorneys for Irvine Company, LLC                 800 Boylston Street, Ste 2800
Ernie Zachary Park, Esq.                          Boston, MA 02199
Bewley, Lassleben & Miller, LLP
13215 E. Penn St., Suite 510                      Bayside Marketplace, LLC
Whittier, CA 90602                                2681 Solution Center
                                                  Chicago, IL 60677
Attorneys for Market Street South, LLC
and Legacy Place Properties, LLC                  Chelsea Orlando Development LP
Joseph H. Baldiga, Esq.                           c/o Chelsea Prop. Group, General Counsel
Kate P. Foley, Esq.                               105 Eisenhower Parkway
Mirick, O’Connell, DeMallie                       Roseland, NJ 07068
& Lougee, LLP
1800 West Park Drive, Suite 400                   Gart Properties LLC
Westborough, MA 01581                             229 Milwaukee Street
                                                  Ste 500
20 Largest Unsecured Creditors:                   Denver, CO 80206
(via U.S. Mail)
                                                  Grand Canal Shops II, LLC
Aventura Mall Venture                             Attention: General Counsel
Legal Dept, c/o Turnberry Aventura Mall           110 N. Wacker Drive
19501 Biscayne Boulevard, Suite 400               Chicago, IL 60606
Aventura, FL 33180
                                                  Jack's Candy
Florida Department of Revenue                     905 Murray Rd
Bankruptcy Section                                East Hanover, NJ 07936
PO Box 6668
Tallahassee, FL 32314-6668
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                MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)


Jemal's Chinatown II, LLC
c/o Lincoln Property Company                      Universal CityWalk
950 F Street                                      Sr. VP, CityWalk and Sponsorship
Washington, DC 20004                              100 Universal City Plaza
                                                  #5511, 6 Floor
JGB Vegas Retail Lessee, LLC                      Universal City, CA 91608
c/o Grand Bazaar Shops, General Manager
3635 Las Vegas                                    VF Mall LLC
Blvd S                                            Attn: Legal Dep c/o Westfield, LLC
Las Vegas, NV 89109                               11601 Wilshire Boulevard
                                                  11 FL
Jones Lang LaSalle Americas, Inc.                 Los Angeles, CA 90025
Attention: President and CEO, Retail
3344 Peachtree Road NE                            W2001ZI15 CPW Retail Sub, LLC
Atlanta, GA 30326                                 770 Lexington Avenue
                                                  4th FL
KRG Enterprises, Inc.                             New York, NY 10021
9901 Blue Grass Road
Philadelphia, PA 19114                            Arundel Mills Ltd. Partnership
                                                  c/o M.S. Management Assoc, Inc.
Law Firm of Ricki S. Friedman PLLC                225 W Washington St
Attn: Ricki S. Friedman, Esq.                     Indianapolis, IN 46204-3438
1 Huckleberry Lane
Ste 1 Huckleberry Lane                            Colorado Mills Malls Ltd Partnership
Hewlett Harbor, NY 11557                          c/o M.S. Management Assoc, Inc.
                                                  225 W Washington St
Nassau Candy                                      Indianapolis, IN 46204-3438
530 W John St
Hicksville, NY 11801                              Pier at Caesars LLC
                                                  Karen Worman, Regional VP Finance
Orlando Outlet Owner LLC                          2100 Pacific Avenue
Lease Services c/o Simon Property Group           Atlantic City, NJ 08401
105 Eisenhower Parkway
1 FL
Roseland, NJ 07068

Quiet Waters Business Park, LLC
c/o Grubb & Ellis Management Services, I
8200 NW 33rd Street
Ste 107
Doral, FL 33122

Sunrise Mills (MLP) Limited Partnership
c/o M.S. Management Associates Inc.,
225 West Washington St
Indianapolis, IN 46204-3438
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                                       Boston America
Blue Q                                                                        GJ Holdings
                                       55 SIXTH ROAD
103 Hawthorne Ave                                                             135 LUNDQUIST AVE
                                       SUITE 8
Pittsfield, MA 1201                                                           BRAINTREE, MA 2184
                                       WOBURN, MA 1801


                                       Koppers Chocolate
Crystal Temptations                                                           Dingman's Dairy
                                       10 Exchange Place
67 Porete Avenue                                                              191 Pennsylvania Ave
                                       SUITE 2800
North Arlington, NJ 7031                                                      Patterson, New Jersey 7503
                                       Jersey City, NJ 07302


Jack's Candy                           Teachers Recipe Gourmet Produc         TASTE BEAUTY
905 Murray Rd                          111 UNION AVE                          PO BOX 850
East Hanover, NJ 7936                  LAKEHURST, NJ 8733                     EDISON, NJ 8818


                                                                              Diversifed Licensing
WATCHITUDE LLC                         License 2 play
                                                                              750 Kappock Street
24A JOYCE KLIMER AVE NORTH             99 PARK AVENUE
                                                                              # 105
New Brunswick, NJ 08901                NEW YORK, NY 10016
                                                                              Bronx, NY 10463


EI ICE CREAM                           ACE-ENDICO CORPORATION                 ISCREAM
701 ZEREGA AVENUE                      80 INTERNATIONAL BLVD                  231 Croton Ave.
BRONX, NY 10473                        BREWSTER, NY 10509                     Cortlandt Manor, NY 10567


                                       Gadge                                  COOKIE DO, Inc.
Dorval Trading Co
                                       3000 Marcus Ave                        51 Schermerhorn Street
PO Box 620
                                       Suite 3 E 03                           Unit 1L
Nanuet, NY 10954
                                       Lake Success, NY 11042                 Brookyn, New York 11201


TOP TRENZ LLC
                                       Nassau Candy                           Spin Master
66 S 2ND ST
                                       530 West John Street                   300 INTERNATIONAL DRIVE
STE E
                                       Hicksville, NY 11801                   WILLIAMSVILLE, NY 14221
BAY SHORE, NY 11706


                                       Island Dogs
Frankford Candy                                                               Design Master Assoc
                                       11407 Cronhill Drive
9300 ASHTON ROAD                                                              3005 John Deere Road
                                       Ste F
PHILDELPHIA, PA 19114                                                         Toano, VA 23618
                                       Owings Mills, MD 21117


                                       GGB CANDIES                            Bobbleheads dba Royal Bobbles
GGb of Raleigh
                                       2600 SUMMER BLVD                       5885 SHILOH ROAD
2600 Sumner Blvd. Ste. 112
                                       STE 112                                SUITE 101
Raleigh, NC 27616
                                       RALEIGH, NC 27616                      ALPHARETTA, GA 30005


Pop Rocks                              Flex Beauty Labs
                                                                              Las Olas Convections Snack
3379 Peachtree Road NE(Buckhead)       7512 DR PHILLIPS BLVD
                                                                              1815 CYPRESS LAKE DR
SUITE 555                              SUITE 50-232
                                                                              ORLANDO, FL 32837
ATLANTA, GA 30326                      ORLANDO, FL 32819

                                                                                               EXHIBIT 2
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                                    Raindrops Enterprises LLC             Stribbons
Anastasia
                                    1801 NE 123RD ST                      2921 W CYPRESS CREEK RD
1815 Cypress Lake Dr.
                                    SUITE 313                             #101
ORLANDO, FL 32837
                                    NORTH MIAMI, FL 33181                 FORT LAUDERDALE, FL 33309


                                    Fun Sweets                            Jim Spinx
Jazwares
                                    3301 Electronics Way                  204 37TH AVE N
1067 SHOTGUN RD
                                    Suite E                               BOX332
SUNRISE, FL 33326
                                    West Palm Beach, FL 33407             ST PETERSBURG, FL 33704


                                    Great Number One                      Creative Concepts
Odd Sox
                                    13506 Summerport Village Pkwy         1500 Georgia Road
1277 South Highland
                                    Suite #233                            Suite A
Clearwater, FL 33756
                                    Windermere, FL 34786                  Irondale, AL 35210


Indianola Pecan                     Ripple Junction                       GOLD MEDAL PRODUCTS
PO Box 367                          P.O. Box 932056                       10700 MEDALLION DRIVE
Indianola, MS 38751                 Cleveland, OH 44193                   CINCINNATI, OHIO 45241


Maud Borup Inc                      About Face Designs
                                                                          Mondelez Global LLC
3650 Annapolis Lane N               1510 OLD DEERFIELD ROAD
                                                                          PO BOX 4543
SUITE 101                           SUITE 211
                                                                          CHICAGO, IL 60673
Plymouth, MN 55447                  HIGHLAND PARK, IL 60035


                                    Sin City Suckers                      Vegas Image
Liberty Distribution Company
                                    3330 West Hacienda Blvd.              3060 E POST RD
290 E. El Prado Court
                                    # 409                                 #140
Chandler, AZ 85225
                                    LAS VEGAS, NV 89118                   LAS VEGAS, NV 89120


Kimmie Candy Company                Tokidoki                              Master Toys Novelties
405 Edison Way                      5655 W ADAMS BLVD                     2355 E 37th St
Reno, NV 89502                      LOS ANGELES, CA 90016                 Los Angeles, CA 90058


Taste of Nature                     Kids Namo Entertainment               UCC Distributing Inc
2828 Donald Douglas Loop North      16380 ROSCOE BLVD                     2580 Pioneer Ave
Suite A                             MOA SUITE 120                         #A
Santa Monica, CA 90405              VAN NUYS, CA 91406                    Vista, CA 92081


STUDIO OH                           Urban Trend
                                                                          Hotlix Candy
8687 RESEARCH DRIVE                 85 ENTERPRISE
                                                                          P.O. BOX 447
STE 150                             SUITE 310
                                                                          GROVER BEACH, CA 93483
IRVINE, CA 92618                    ALISO VIEJO, CA 92656


Asian Food Grocer                   Play Visions                          Funko
50 W OHIO AVE                       19180 144th Ave NE                    2802 WESTMORE AVE
RICHMOND, CA 94804                  Woodinville, WA 98072                 EVERETT, WA 98201
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                                                                             LIBERTY COCA-COLA
Loungefly                             Pez candy
                                                                             BEVERAGES LL
2802 WETMORE AVE                      PO Box 30087
                                                                             PO BOX 780810
EVERETT, WA 98201                     New York, NY 10087-0087
                                                                             PHILADELPHIA, PA 19178-0810


KidRobot                              Coca-Cola Consolidated, Inc,           squire boone village inc
PO BOX 1036                           PO Box 602937                          PO Box 711
Charlotte, NC 28201-1036              Charlotte, NC 28260-2937               New Albany, IN 47151-0711



Fred Friends                          Classic Imports                        GREAT LAKES COCA-COLA, LLC
Dept. CH 17745                        PO BOX 75359                           PO BOX 809 809082
Palatine, IL 60055-7745               Chicago, IL 60675-5359                 CHICHAGO, IL 60680-9082



Culture Fly                           Jelly Belly Candy Company              Thumbs Up (UK) Limited
PO BOX 88926                          PO Box 742799                          Braintree Road
CHICAGO, IL 60695-1926                Los Angeles, CA 90074-2799             Ruislip, United Kingdom HA4 0EJ



Tarcor
167 Bentoak Cres
Thornhill, Ontario Canada L4J8S6
